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                 EXPERT WITNESS REPORT


                   MELANIE BECKEMEYER
                                       vs.
                GELCO CORPORATION, ETC.
                  Case No. 1:17-CV-00695-MRB


                                 Prepared by:
                            Jeremy Porter, PMP
                              16 Canyon Court
                             Yorkville, IL 60560


         Report prepared for Ritzler, Coughlin & Paglia, Ltd.




         Subject: Mold/ Bacteria growth in 2014 Toyota RAV4
                       VIN 2T3DFREV9EW127356




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            material is copied in whole.” Stern v Does, 978 F.Supp.2d 1031, 1044-49 (C.D. Cal. 2011).


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                                    INTRODUCTION
        This report sets forth the opinions that I have formed regarding alleged mold and/ or
bacteria growth in a 2014 Toyota RAV4 VIN 2T3DFREV9EW127356, as well as ambient air
quality in the geographic areas Mrs. Beckemeyer lived and worked during 2016. My opinions
are formed based on an inspection of the subject vehicle, historical air quality information and
documents that were obtained in my capacity as an expert witness. Those documents are more
particularly described later in this report.

        I may find it appropriate to revise or supplement my opinions, analysis, and conclusions
stated herein in the future.

       My Curriculum Vitae is attached hereto as Appendix 5. I have not authored any
publications. The cases in which I have testified as an expert witness are described in my
Curriculum Vitae.

       I am charging the following rates per hour for my work as an expert witness on this case:

$ 225 per hour for non-testifying work and travel

$ 275 per hour for deposition and court appearance


                                      ASSIGNMENT

       Determine to the extent possible, the cause and severity of alleged mold and/ or bacterial
growth in the subject vehicle.
      Determine to the extent possible, the relative mold and/ or bacterial exposure to Mrs.
Beckemeyer.
       Determine to the extent possible, the contribution of Gelco’s action/s and/ or inaction/s
had on mold/ bacterial growth.
       Determine to the extent possible, other factors which may have caused or contributed to
Mrs. Beckemeyer’s alleged health issues.




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                              OPINIONS RENDERED

OPINION #1: The actions or inactions of Gelco or their contractor Professional Automotive
Relocation Service (PARS) did not lead to mold and/ or bacteria growth in the subject vehicle.

OPINION #2: There was not, nor has there ever been mold and/ or bacteria growth in the subject
vehicle that would be considered out of the ordinary.

OPINION #3: Exposure to mold and/ or bacteria while in the subject vehicle was not the direct
and proximate cause of the Mrs. Beckemeyer's illness.

OPINION #4: Mrs. Beckemeyer was exposed to less mold and/ or bacteria while operating the
subject vehicle then she would have otherwise been exposed to outside of the vehicle.

OPINION #5: Vehicles are designed for minor water intrusion events by nature of their intended
use.

OPINION #6: Mrs. Beckemeyer’s choice of living and working locations has exposed her to
higher than normal airborne pollution.

OPINION #7: Mrs. Beckemeyer’s symptoms as reported by date corelate exactly with adverse
air quality alerts in the locations she was living and traveling.

OPINION #8: Portions of Mr. Rucker’s inspection report entitled Microbe & Endotoxin &
Carbon Monoxide Gas Test Results are fundamentally flawed and inaccurate.

OPINION #9: Portions of Dr. McMahon’s report from Whole World Health Care, PC are
fundamentally flawed and inaccurate.

OPINION #10: Mrs. Beckemeyer’s understanding of mold growth and mold remediation as
allegedly explained to her is fundamentally flawed and inaccurate.

Opinion #11: Mrs. Beckemeyer was exposed to higher concentrations of mold via inhalation
outside of the vehicle than inside of the vehicle.




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                                BASIS FOR OPINIONS

                                           OVERVIEW

       This cause of action relates to claims that Mrs. Breckmeyer was provided a vehicle from
her employer that had a water leak and because of water intrusion that mold and/ or bacteria
grew and exposure to these substances caused her to become ill.
         The record reflects that at some point just prior to delivery of the vehicle, the passenger
side window of the subject vehicle was left slightly open and rainwater entered the vehicle. This
leak was noticed by PARS who had been contracted to store and deliver the vehicle. Said leak
was notated on the bill of lading by PARS while the vehicle was in its custody. Prior to delivery
it was discovered that the passenger side window was slightly open, and the child window lock
feature was engaged which prevented the window for being rolled up entirely. PARS then
disabled the child window lock feature, rolled up the window and observed the condition of the
vehicle following a night of rain. There was no additional water intrusion observed and the
interior of the vehicle was dry prior to delivery to Mrs. Beckemeyer. Mrs. Beckemeyer has
testified that she never saw any water leaks in the vehicle for the duration of the period in which
she had possession of it.
       The vehicle assigned to Mrs. Beckemeyer was a 2014 Toyota RAV 4 limited. It was
assigned to Breckmeyer for approximately 149 days from approximately May 4 th, 2016 until
September 30th, 2016. During this period of time the vehicle was driven 4307 miles.




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                                      Related Information


                                                  Mold




        Molds are organisms that are found virtually everywhere, indoors and outdoors. They are
part of the natural environment and play an important role by breaking down and digesting
organic material, such as dead plants, leaves, etc. Also called fungi or mildew, molds are neither
plants nor animals; they are part of the kingdom Fungi.
        Mold spores are ubiquitous; they are found everywhere, both indoors and outdoors. Mold
spores cannot be eliminated from indoor or outdoor environments. Mold spores will be found
floating through the air and in settled dust; however, they will not grow if moisture and a food
source is not present.
         Mold is not usually a problem, unless mold spores land on a wet or damp organic food
source and begin growing. As molds grow they digest whatever they are growing on. Unchecked
mold growth can damage buildings and furnishings; molds can rot wood, damage drywall, and
eventually cause structural damage to buildings. Mold can also cause cosmetic damage, such as
stains, to furnishings. The potential human health effects of mold are also a concern. It is
important, therefore, to prevent mold from growing indoors.
Source: Introduction to Mold and Mold Remediation for Environmental and Public Health Professionals by US EPA

                                Conditions required for mold growth
All four of the following conditions are required for mold growth to occur:
1.     Mold Spores: These are naturally occurring in the environment inside and outside of
buildings. There is no effective means of controlling the presence of mold spores in the
environment.
2.     Food Source: Any organic matter such as wood, paper, fiber, and others are suitable for
mold growth.


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3.     Suitable Environment: Specific environmental factors suitable to mold growth such as
temperature and light. These requirements vary by mold type. Conditions typically found in
human occupied environments are conducive to mold growth.
4.     Moisture: Mold requires a certain amount of moisture referred to as water activity to
grow. Water activity refers to free water available for mold growth. For mold growth to occur,
moisture must be freely available. Water activity above .7 is typically required for mold growth.
Moisture can be in the form of free water or high humidity. Typically, relative humidity of 60%
or more is required to support mold growth. Humans prefer a relative humidity below that
required to support mold growth., optimally 40% to 50%. In typical residential and commercial
construction, the only factor that can be reasonably controlled is moisture, making it of the
upmost importance to preventing mold growth from occurring.



                                Mold growth detection methods
    Visual inspection is by and large the primary way to determine if mold is present and
growing. When all four of the conditions are met, molds will begin growing and form colonies
that will typically appear as fluffy, velvety or hairy spots and patches of various colors.
   Smell, a damp musty odor typically is detected when mold is present and actively growing.
   Sampling methods include bulk, swab, tape lift and air. These can be analyzed by
microscopy or in some case growing viable mold from the sample.
   Mold samples are used to detect small amounts of mold. Sampling is usually not required in
most cases, if visible mold growth is present.
Source: US EPA




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                                                  Bacteria




        Bacteria like mold is ubiquitous, it is naturally occurring and found everywhere. There
are typically 40 million bacterial cells in a gram of soil (about ¼ teaspoon) and a million
bacterial cells in a milliliter (about 20 drops) of fresh water. There are approximately
5,000,000,000,000,000,000,000,000,000,000 bacteria on Earth, [1] forming a biomass which
exceeds that of all plants and animals. [2] Bacteria are vital in many stages of the nutrient cycle
by recycling nutrients such as the fixation of nitrogen from the atmosphere.
[1] Wiebe WJ (June 1998). "Prokaryotes: the unseen majority". Proceedings of the National Academy of Sciences of
the United States of America. 95 (12): 6578–83. Bibcode:1998PNAS...95.6578W. doi:10.1073/pnas.95.12.6578.
PMC 33863. PMID 9618454.
[2] Jump up^ C Michael Hogan. 2010. Bacteria. Encyclopedia of Earth. eds. Sidney Draggan and C.J Cleveland,
National Council for Science and the Environment, Washington DC


                               Conditions required for bacteria growth
All four of the following conditions are required for bacteria growth to occur:
1.     Bacteria: These are naturally occurring in the environment inside and outside of
buildings. There is no effective means of controlling the presence of bacteria in the environment.
2.       Food Source: Bacteria break down or decompose dead organisms, animal waste, and
plant litter to obtain nutrients. Microbes don't just consume nature's waste, they recycle it. The
process of decomposition releases chemicals such as carbon, nitrogen, and phosphorus that can
be used by new plants and animals.
3.     Suitable Environment: Environmental factors suitable for bacteria growth such as pH,
oxygen availability, temperature and light. Conditions typically found in human occupied
environments are conducive to bacteria growth.
4.      Moisture: Bacteria requires a certain amount of moisture referred to as water activity to
grow. Water activity refers to free water available for bacteria growth. For bacteria growth to
occur, moisture must be freely available. Water activity above .91 is typically required for
bacterial growth. Moisture can be in the form of free water or high humidity.

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                                            Endotoxins



                              Extremely                 Natural to the
                              common                    environment


                                        Comes from the
                                       cells walls of dead
                                         gram-negative
                                             bacteria

        Bacterial endotoxins come from the external membrane of Bacteria, specifically gram-
negative bacteria. These bacteria are characterized by their ubiquity in nature. They can be found
in marine environments and on land, as well as, in the animals that we, as humans, use for food,
and in the feces of animals. Therefore, Gram-negative bacteria infections are very common. One
of the myths that exist in the population regarding these infections is that they can be avoided
after heating food. In actuality, the danger of contaminated food precisely lies in the fact that
although the bacteria die, the lipopolysaccharides that constitute its cellular wall are released into
the environment where they find themselves and the bacterial endotoxins present are resistant to
heat.
       Although endotoxins are so named after their toxic properties, they also exhibit a
spectrum of beneficial activities. They induce nonspecific resistance to different infectious
agents and to their own toxic effects.
       Endotoxins naturally occur in the environment. A recent study finds 60% of airborne
endotoxins are carried by pollen of a common weed found in Ohio as well as most of the U.S.
Studies suggests that the age of houses, cleaning, farm or rural living, flooring materials (the
presence of carpets), number of occupants, the presence of dogs or cats indoors, and relative
humidity were the strongest determinants for endotoxin loads in settled floor dust, while the
presence of pets (especially dogs) were the strongest contributing factors for airborne endotoxin
concentrations. There is also evidence of exposures related to contaminated pool water.




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                                            Indoor Air Quality
       Indoor air quality typically refers to the quality of the air in a home, school, office, or
other building environment. The potential impact of indoor air quality on human health
nationally can be noteworthy for several reasons:
       Americans, on average, spend approximately 90 percent of their time indoors,[1] where
the concentrations of some pollutants are often 2 to 5 times higher than typical outdoor
concentrations.[2]
       People who are often most susceptible to the adverse effects of pollution (e.g., the very
young, older adults, people with cardiovascular or respiratory disease) tend to spend even more
time indoors.[3]
        Indoor concentrations of some pollutants have increased in recent decades due to such
factors as energy-efficient building construction (when it lacks sufficient mechanical ventilation
to ensure adequate air exchange) and increased use of synthetic building materials, furnishings,
personal care products, pesticides, and household cleaners. [3]
[1] U.S. Environmental Protection Agency. 1989. Report to Congress on indoor air quality: Volume 2. EPA/400/1-
89/001C. Washington, DC.

[2] U.S. Environmental Protection Agency. 1987. The total exposure assessment methodology (TEAM) study:
Summary and analysis. EPA/600/6-87/002a. Washington, DC.

[3] U.S. Environmental Protection Agency. 1997. Exposure factors handbook volume 3: Activity factors.
EPA/600/P-95/002Fa. Washington, DC.

                                           Outdoor Air Quality
        Outdoor air pollution contains numerous substances of both natural (e.g., pollen, mold
spores, dust) and anthropogenic (human-caused) origin. There is no effective means of
controlling natural air pollution. Anthropogenic emissions can be decreased through regulatory
and voluntary actions, leading to air quality improvements. [4]
 [4] https://www.epa.gov/report-environment/outdoor-air-quality

                                         Exposure Limits to Mold
       For health outcomes, there are no available exposure assessment methods that can
provide useful information for individuals. This is primarily due to the fact that each person’s
response to mold exposure is unique. There are no accepted national or international standards
for mold investigation, evaluation or remediation.
        A useful method for interpreting microbiological results is to compare the kinds and
levels of organisms detected in different environments. Usual comparisons include indoors
versus outdoors, or complaint areas versus non‐complaint areas. Specifically, in buildings
without mold problems, the qualitative diversity (types) of airborne fungi indoors and outdoors
should be similar.



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             Differences between building construction and vehicle construction
        A food source for both mold and bacteria is readily available in both typical residential
and commercial building construction. Any organic materials such as wood, paper, certain types
of insulation, drywall, plaster and certain coatings are all food sources for mold and bacteria.
The only way to limit mold grown in a building is to limit available moisture.
        Vehicles however, are designed for minor water intrusion events. For example, getting
into or out of the vehicle in a rain storm or with snow on one’s shoes and even an accidental
window or sunroof being left open and a rain storm occurs. Vehicles are designed and
constructed primarily of inorganic materials, synthetic materials such as polypropylene, vinyl,
and various plastics. A notable exception is leather in higher quality vehicles, this is an organic
material and does support mold growth after being wet for an extended period of time.
       In the case of vehicles, two factors can be reasonably controlled and not expected to be
present in the vehicle. These being food sources and continuous moisture.




                                  Photo is not of the subject vehicle.
         Example of vehicular mold growth. The mold is growing on the organic leather of the
            vehicle, notice the carpet is not moldy as it is not a food source for the mold.
                Source: www.icarusgolds.com/how-to-approach-vehicle-water-damage-and-mold.html




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                                 Photo is not of the subject vehicle.
         Example of vehicular mold and bacterial growth. In this case milk was spilled which
           provided both the food and moisture source required over a long period of time.
       Source: www.servprobedfordparkburbank.com/blog/post/40855/mold-removal-remediation/mold-in-a-car




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                           Air Quality Illness Correlations, General


        Mrs. Beckemeyer has testified to being in a sensitive group when it comes to air quality
and allergies. When tested in 1990 she “Reacted to everything.” and “Most of what I tested for I
reacted to.” It’s hard to imagine a more problematic environment for someone with a
predisposition to having issues with adverse air quality.



                                    Residential Environment

       Elevated exposure to both mold and bacteria is caused by having pets, having a
swimming pool, having a heavily wooded backyard, being engaged in renovation of distressed
properties, a.k.a. house flipping.


                                       Work Environment

        Mrs. Beckemeyer’s reported work territory of all of OH, KY, IN (Indianapolis and
south), Pittsburg, this area included 6 of the 25 most polluted cities in the United Stated in 2016.

25 U.S. Cities Most Polluted by Year-Round Particle Pollution (Annual PM2.5)

#8 Pittsburgh–New Castle–Weirton, PA—OH—WV
#10 Louisville/Jefferson County–Elizabethtown– Madison, KY—IN
#11 Cleveland–Akron–Canton, OH
#13 Indianapolis–Carmel-Muncie, IN
#14 Cincinnati–Wilmington–Maysville, OH—KY—IN
#25 Wheeling, WV—OH




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          Source: www.lung.org/assets/documents/healthy-air/state-of-the-air/sota-2016-full.pdf




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                                      Butler County Air Quality

       The Southwest Ohio Air Quality Agency handles air quality monitoring, permitting, and
enforcement for Butler, Clermont, Clinton, Hamilton, and Warren counties.
        They state: More than 35 million people suffer from allergies in the United States. An
allergy is an reaction to a very small amount of a specific substance, very often mold or pollen.
People react differently to allergens, but common symptoms include runny nose, watery eyes,
and sneezing. [1]
       Tree and grass pollens are the most common Southwest Ohio allergens and can be almost
impossible to escape. Oak, cedar, mulberry, maple, elm, poplar, box elder and grasses are the
most prevalent sources of pollen in Southwest Ohio from late March through mid-July.
Ragweed, the most allergenic plant of North America, blooms from August through October.
Mold spores are also in full swing all summer and can even be found indoors year-round. [1]
[1] www.southwestohioair.org/local_air_quality/pollen_and_mold/historical_data




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                           Air Quality Index Butler County, Ohio 2016
       Each month in which Mrs. Beckemeyer was assigned this vehicle had one or more days
where outdoor air quality in Butler County, OH was deemed unhealthy for sensitive groups.




                                                    Source:
http://www.southwestohioair.org/UserFiles/Servers/Server_3788196/File/EnvironmentalServices/hcdoes/Annual%2
                                        0Report/2016AnnualReport.pdf


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                       Pollen & Mold Counts Butler County, Ohio 2016

       The majority of the period that Mrs. Beckemeyer was assigned vehicle, ambient outdoor
mold spore count was high. Towards the end of the period it was very high.




      The majority of the month of May 2016 that Mrs. Beckemeyer was assigned vehicle,
ambient outdoor pollen counts were high.




            Source: www.southwestohioair.org/local_air_quality/pollen_and_mold/historical_data

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                 Ambient mold spore count by day during period plaintiff
                                 was assigned vehicle

                           4             7
                                                         27


                                              64

                             Low        Moderate           High        Very High


                 Ambient pollen count by day during period plaintiff was
                                   assigned vehicle

                        0

                                     10                         58


                                        34

                             Low        Moderate           High        Very High

  Source: Daily average spore counts provided by Anna L. Kelley, Monitoring & Analysis Supervisor, Southwest
                                            Ohio Air Quality Agency


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                        Air Quality Advisories Butler County, Ohio 2016
       There were 11 air quality alerts in Butler County in the period that Mrs. Beckemeyer was
assigned the vehicle.




                                                  Source:
www.southwestohioair.org/UserFiles/Servers/Server_3788196/File/EnvironmentalServices/hcdoes/Annual%20Repo
                                          rt/2016AnnualReport.pdf




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                                             State of Ohio

        In 2016, Ohio ranked fourth in the nation for states with the highest level of health issues
related to air pollution.




                       Source: American Thoracic Society and Marron Institute Report
              Estimated Excess Morbidity and Mortality Caused by Air Pollution above American
                                Thoracic Society–Recommended Standards




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                                  Illness Air Quality Correlations, Specific

   Nothing less than remarkable correlations exist between Mrs. Beckemeyers reported illness
and outdoor air quality in locations she was in or traveling to.

                                             June 20, 2016
       Mrs. Beckemeyer claims this was the first time she drove the vehicle and reported becoming
ill.
       !This is the 3 day of an air quality advisory for Butler County, OH. The only multi-day
                       rd

advisory in all of 2016.
       !Ambient mold spore counts in Butler County almost reach the high threshold (1500 per M )                    3

with a spore count of 1,489 per M3.

                                        September 19, 2016
       Mrs. Beckemeyer drove to Indianapolis, reports illness.
       !
    Ambient mold spore counts in Butler County reach the very high threshold with a spore
count of 7,507 per M3. The highest mold spore count of 2016.
       !This is also day 1 of 4 consecutive Indiana Department of Environmental Management Air
Quality Action Days Alert.
                                                 September 20, 2016
       !Ambient mold spore counts in Butler County reach the very high threshold with a spore
count of 6,131 per M3. The 3rd highest mold spore count of 2016.
       !
    This is day 2 of 4 consecutive Indiana Department of Environmental Management Air
Quality Action Days Alert.
                                        September 21, 2016

    Mrs. Beckemeyer drove to Indianapolis, reports severe illness. This is day 3 of 4 consecutive
Indiana Department of Environmental Management Air Quality Action Days Alert.
       !
     Ambient mold spore counts in Butler County reach the high threshold with a spore count of
2,283 per M3.
                                     October 24, 2016
        Mrs. Bekemeyer claims she drove the subject RAV4 and experienced the same
symptoms, when in fact the vehicle was no longer in her possession at this time, it had been sold
one month earlier at auction. It is noteworthy that she is now in a different vehicle and still
experiencing the same symptoms, this indicates the exposure is environmental in nature not
vehicle related.
       Source: https://calendar.in.gov/site/idem/. Spore counts provided by Anna L. Kelley, Monitoring & Analysis
                                      Supervisor, Southwest Ohio Air Quality Agency



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                                                 Vehicle assignment
       The Vehicle assigned to Mrs. Beckemeyer was a 2014 Toyota RAV 4 limited. It was
assigned to Breckmeyer for approximately 149 days from approximately May 4 th, 2016 until it
was sold at auction on September 30th, 2016. During this period of time the vehicle was driven
4307 miles.


                  Time spent in vehicle vs. out of vehicle by
                               average speed
                                               60 MPH       45 MPH      30 MPH




 Hours spent out of vehicle




     Hours spent in vehicle




                              0       500        1000       1500        2000      2500       3000       3500   4000
                              Hours spent in vehicle                             Hours spent out of vehicle
    60 MPH                            76.78                                              3499.22
    45 MPH                            95.71                                               3480.29
    30 MPH                           143.57                                               3432.43




 Average Speed           Hours spent in            Total hours in          Percentage of            Percentage of
                         vehicle                   assigned period         time spent in            time spent
                                                                           vehicle                  outside of
                                                                                                    vehicle
 30 MPH                  143.57                    3576                    4.01 %                   95.99 %
 45 MPH                  95.71                     3576                    2.68 %                   97.32 %
 60 MPH                  76.78                     3576                    2.15 %                   97.85 %




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                              Mold Spore Exposure to Mrs. Breckmeyer
       Based on detailed mold spore counts conducted in Butler county we can determine the
types and general quantities Mrs. Breckmeyer would have been exposed to during the period she
was assigned the vehicle.


                  Indoor
                 Exposure
               3,314,192 to
                16,816,564




                                                    Total Mold
                 Outdoor                              Spore
                 Exposure
                220,946 to                        Inhalation by
                  290,912
                                                       Mrs.
                                                   Beckemeyer



                 In vehicle
                 Exposure
                 13,222 to
                  147,666




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                                       Study adjusted exposure rates to Mrs. Beckemeyer

                                                                                                                                          Out of
                                                                               Outside      In vehicle    Inside                          vehicle
                                                                               spore        spore         spore          Total Spore      exposure
                                      Outside      In Vehicle    Inside [2]    inhalation   inhalation    Inhalation     Inhalation       multiple

                      3,682,435 [1]         100%                                                                         3,682,435 [1]



                      30 MPH
      Vehicle Speed




                      Average              6.00%         4.01%        90.00%      220,946      147,666      3,314,192         3,682,803         24.94
                      45 MPH
                      Average              7.30%         2.68%        90.00%      268,818        98,689     3,314,192         3,681,699         37.31
                      60 MPH
                      Average              7.90%         2.15%        90.00%      290,912        79,172      3,314,192        3,684,276         46.53
                                                                                                          Increased
                                                                                            Reduced       per study,
                                                                                            per study     Low range
                                                                                            [3]           [4]
                      30 MPH
      Vehicle Speed




                      Average              6.00%         4.01%        90.00%      220,946        24,660     6,628,383         6,873,989        278.75
                      45 MPH
                      Average              7.30%         2.68%        90.00%      268,818        16,481     6,628,383         6,913,682        419.49
                      60 MPH
                      Average              7.90%         2.15%        90.00%      290,912        13,222      6,628,383        6,932,517        524.33
                                                                                                          Increased
                                                                                            Reduced       per study,
                                                                                            per study     High
                                                                                            [3]           range[5]
                      30 MPH
      Vehicle Speed




                      Average              6.00%         4.01%        90.00%      220,946        24,660 16,570,958           16,816,564        681.93
                      45 MPH
                      Average              7.30%         2.68%        90.00%      268,818        16,481 16,570,958           16,856,256       1022.76
                      60 MPH
                      Average              7.90%         2.15%        90.00%      290,912        13,222 16,570,958           16,875,092       1276.31


       Mold spores available for inhalation are multiplied by in vehicle use based on a 30 MPH
average, a 45 MPH Average and a 60 MPH average. Adjustments are made based on the
following information and research.

[1] Mold count is increased to account for 46 days tests were not conducted in the 149-day period due to weekends
and holidays.
[2] Indoor time percentage based on 90% per U.S. Environmental Protection Agency. 1989. Report to Congress on
indoor air quality: Volume 2. EPA/400/1-89/001C. Washington, DC.
[3] In vehicle spore count is reduced by 83.3% consistent with the findings of Vonberg et al., The microbiological
quality of air improves when using air conditioning systems in cars BMC Infectious Diseases 2010, 10:146
[4] Inside mold concentrations increased by study low range of 2 times consistent with the findings of U.S.
Environmental Protection Agency. 1987. The total exposure assessment methodology (TEAM) study: Summary and
analysis. EPA/600/6-87/002a. Washington, DC.
[5] Inside mold concentrations increased by study high range of 5 times consistent with the findings of U.S.
Environmental Protection Agency. 1987. The total exposure assessment methodology (TEAM) study: Summary and
analysis. EPA/600/6-87/002a. Washington, DC


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                    Total mold spores by type inhaled by Mrs. Beckemeyer


       Cladosporium                                                                                891935
    Ascospores unkn.                                                 526364
 Basidiospores Unkn.                                     377513
            Coprinus                       136026
           Unknown                     122318
       Diatrypaceae                 75195
      Leptosphaeria                68287
          Alternaria               58314
           Agrocybe            52265
   Pseudocercospora            44606
            Perconia          29789
        Myxomycete           26592
          Epicoccum          24874
         Pithomyces          21581
             Mildew          16714
          Massarina         14996
          Fusariaum         13743
          Aspergillus       12801
             Torulas        9365
 Rust Urediniospores        8983
          Drechslera        7850
       Stemphylium          3305
            Ustilago        2589

                        0      100000 200000 300000 400000 500000 600000 700000 800000 900000 1000000


Method of calculation: The data is the actual ambient mold exposure via inhalation to a 40.1 to <70.1-year-old
female of normal weight with a daily inhalation rate of 11.93 M3 in Butler County, OH from May 4, 2016 to
September 30, 2016. No adjustments have been made for indoor increases or in vehicle decreases. Data is based on
daily average spore counts provided by Anna L. Kelley, Monitoring & Analysis Supervisor, Southwest Ohio Air
Quality Agency. Inhalation rate taken from table 6.6 of Exposure Factors Handbook September 2011




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                            Actions of Gelco Corporation
       A review of information indicates Gelco acted in good faith and was available and
responsive to Mrs. Beckemeyer’s requests.
       The following are a summary of actions taken in relation to the vehicle by date.
                                         March 11, 2016
        Vehicle serviced at Tansky Sawmill Toyota Dealership, they replaced the GPS/ radio
unit, performed a multi-point vehicle inspection and check the drivers side floor mats for
interference.
                                         April 29, 2016
       Vehicle assigned to Mrs. Beckemeyer.
                   Unknown dates between April 29, 2016 and May 4, 2016
        PARS notice the water leak and notates this on the bill of lading. Vehicle is inspected,
and the leak is determined to have been caused by the passenger side window being slightly
open. Window is closed, and a subsequent inspection is conducted after being out overnight in
the rain, and it is determined the leak has been resolved and the vehicle is dry.
                                          May 4, 2016
        Mrs. Beckemeyer is notified of vehicle delivery, she indicates vehicle model is beneath
her privilege. States she is Management and would like a Toyota Highlander. Gelco contacts
Mrs. Beckemeyer’s employer and they indicate they have already discussed this with her and
confirm this is the correct vehicle model for her position. Gelco emails her the result of their
inquiry. The vehicle picked up from PARS Storage Columbus, OH. The bill of lading document
states vehicle leaks water by passenger sun visor.
                                          May 6, 2016
        Vehicle is delivered to Mrs. Beckemeyer and she reads there was a water leak on
paperwork. The bill of lading the leak notation had been given to the driver and he was
disinclined to line out the notation as they were not aware that this condition had been remedied.
Mrs. Beckemeyer inquires why vehicle was sent with a leak, Gelco at the time was unaware of
PARs actions relating to the leak. Additionally, she indicates the brakes are making noise and it
takes a long tome to stop. She requests a rental vehicle. Repairs and rental vehicle approved.
                                          May 9, 2016
       Mrs. Breckmeyer calls back to again discuss the leak notation on the bill of lading.
Repair work is scheduled for May 11, 2016 at a dealership and a rental vehicle is coordinated.




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                                          May 11, 2016
       Mrs. Beckemeyer fails to bring in the vehicle for the scheduled service or pick up the
authorized rental vehicle.
       Mrs. Beckemeyer has failed to meet her obligation to mitigate at this point.
                                          May 17, 2016
         Mrs. Beckemeyer calls in and would like to reschedule the missed appointment and rental
for this day. Gelco tries but is unable to obtain a rental from either Enterprise or Hertz on short
notice and calls back to advise Mrs. Breckmeyer. Additional actions to be taken by either party
are not specified.
                                          June 23, 2016
        Mrs. Beckemeyer calls in and would again like to reschedule the missed appointment and
rental for this day. Gelco tries but is unable to obtain a rental from Enterprise and calls back to
advise Mrs. Breckmeyer. Gelco indicates the will keep trying to obtain a rental and Mrs.
Breckmeyer indicates she will call back later that day. Mrs. Beckemeyer instead takes the vehicle
to the Performance Toyota Dealership and arrives without an appointment. It is unclear whether
a rental was provided.
       Mrs. Beckemeyer resumes her obligation to mitigate at this point.
       Mrs. Beckemeyer reports the leak, the brakes and noises coming from the vehicle in the
hood area and back of the vehicle. There are discussions between Gelco and the dealership and
Gelco authorizes the repairs.
        The dealership replaces the rear brake pads, machines the rear rotors, performs an oil
change, washes the car, checks the driver’s side floor mats for interference, performs a
comprehensive vehicle inspection, replace engine air filter, flush brake system, and cleaned the
throttle body. Conditions of complaints from noise conditions could not be duplicated and no
work was done.
      Claim related services performed were flush the evaporator and clean the HVAC
ductwork.
       Gelco also authorized a complete detail of the vehicle through Toyota but this as
performed by an offsite vendor.
       *The Gelco record indicates “washer line that runs thru roof has been chewed, replace,
washer valve and 2 rubber tube mouse damage”, however this does not appear to have been done
according to the dealership service records. This note probably relates to a discussion on what
could potentially be causing the roof leak. This assumption is based in on the vehicle inspection,
no mouse or water damage was observed. (See inspection details.) The Toyota Dealership
services records. (See service records.) Mrs. Beckemeyer’s testimony that she never observed
any leaks for the entire duration of vehicle use.


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                                          July 9, 2016
       Mrs. Breckmeyer picks up vehicle from the Toyota dealership
                                         July 28, 2016
        Mrs. Beckemeyer calls and claims mold is coming back. Requests vehicle detail. Vehicle
detail approved but Mrs. Beckemeyer did not take the vehicle to have the service performed.
       Mrs. Beckemeyer has failed to meet her obligation to mitigate at this point.
                                        August 17, 2016
        Mrs. Beckemeyer calls claiming the vehicle is hopping over bumps, unsafe to drive.
Replacement of all 4 tires is authorized but Mrs. Beckemeyer did not take the vehicle to have the
service performed.
                                      September 23, 2016
Mrs. Beckemeyer calls claiming mold is again in the A/C system and requests a rental. Rental
vehicle is provided.
                                      September 30, 2016
Vehicle sold at auction $18,500, $95 of reconditioning. Good condition.
                                       December 5, 2016
Mrs. Beckemeyer requests PARS phone number. Number is provided.
                                       December 6, 2016
Mrs. Beckemeyer calls PARS claiming she needs Bill of Lading for Tax Purposes. Pars provides
a copy of the bill of lading.
                                       January 20, 2017
Last day of rental vehicle use.
       Gelco approved each and every request for service Mrs. Beckemeyer made for the entire
duration she had the vehicle. She frequently chose not to have the approved services performed.
The one and only request Gelco denied was to upgrade the vehicle provided to a Toyota
Highlander, however this denial was done at the direction and consistent with the policy of her
employer.




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                                 Mr. Rucker’s Report
                                              Mold
       To the extent I observed Mr. Rucker’s mold inspection and sampling procedures, they
were conducted professionally and with reasonable care. His report accurately describes the
condition relating to mold in the vehicle and is in accordance with generally accepted published
guidelines.
        Mr. Rucker found similar types and concentrations of common mold spores from the
sampling that he separately conducted. These types and concentrations are of those that would
naturally occur in the ambient environment. Our respective findings are mold was not at elevated
levels in the RAV4. See appendix 6 for more information on these mold types.

               Similar Findings                 Unique to               Unique to
             Mr. Porter's Report           Mr. Rucker's Report      Mr. Porter's Report
             Mr. Rucker's Report
                     Mold                         Mold                    Mold
                   Alternaria                Acremonium                 Aspergillus
                   Alternaria               Aureobasidium               Tetraploa
                   Ascospore                 Chaetomium
                  Ascospores                   Epicoccum
                Basidiomycetes             Hyphal fragments
                 Basidiospore                 Pithomyces
                 Basidiospores                Rhodotorula
                 Cladosporium                   Bacteria
                 Cladosporium                  Endotoxin
                  Penicillium                    Other
                  Penicillium              Background debris
                 Myxomycetes                     Pollen
        Smuts, Periconia, Myxomycetes           Skin cells
        Smuts/Myxomycetes




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                                                   Endotoxins
        Mr. Rucker’s report indicates that 2 of the 4 samples he took have elevated endotoxin
levels and that there was an “endotoxin reservoir” underneath the passenger seat of the subject
vehicle. I can neither confirm nor deny this as I did not conduct endotoxin testing. There are
however logical conclusions that can be made.
                                         Endotoxin exposure limits
       There are no exposure limits for endotoxins. The study relied upon by Mr. Rucker is
simply geometric mean of sampling data from several reports.
       Using the same methodology of the study, the geometric mean (GM) of the sampling in
the RAV4, the threshold Mr. Rucker used was not met. Results were18,900 EU M2, 204,400 EU
M2, 81,600 EU M2, 285,700 EU M2 respectively. The GM is 97,417 EU M2. (GM, Geometric
mean is a measure of central tendency.) This is perhaps best shown visually in the graph that
follows.




Source: Adhikari, A., Kettlesona, E.M., Vesper, S., Kumar, S., Popham, D.L., Schaffer, C., Indugula, R., Chatterjee,
K., Allama, K.K., Grinshpun, S.A., Reponen, T., 2014. Dustborne and airborne Gram-positive and Gram-negative
bacteria in high versus low ERMI homes. (All data in red and green was added.)



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       Mr. Rucker’s sample results shown in green over the data used to calculate the 107,000
EU M high level. The highest study result was approximately 2,000,000 EU M2 or 7 times the
      2

highest vehicle result. The lowest study result was approximately 5,000 EU M2 or 4 times the
lowest vehicle result.
        Data show 42% of the study sample results were higher than the highest result in the
vehicle and 10% of the study samples were lower than the lowest vehicle result.
        The GM of vehicle results were 9% lower than the GM of study results. The vehicle
results and the study results are essentially the same.
                                     Laboratory sampling results
         The sampling protocol, as established by the laboratory Mr. Rucker used for endotoxin
analysis, was not met. Results indicate the “Measurable dust was less than minimum required,
entire filter used.”
       EMLab P&K’s applicable protocol requires “A sufficient amount of dust is required for
analysis, preferably 0.1 g or more.”
Source: www.emlab.com/resources/sampling-guides/bacteria-endotoxin-sampling/ (emphasis added)

        Essentially, the vehicle was so clean that even after even after vacuuming a 10 cm x 10
cm (approximately 4 inch by 4inch) square for five minutes, Not even 0.1 grams dust was not
obtained in any of the 4 samples and the laboratory had to resort to reading the filter media
instead of the dust, which is inconsistent with their test protocol. This also caused dust
measurements to not be reported and instead under measurement it states “1 Sample”.
                                 Mold and Bacteria in automobiles
        Multiple studies have determined that it would not be unusual to find allergens of
microbial and nonmicrobial origin inside virtually every family car considering its normal use
patterns. These studies are described more fully under the research section below.
         The results in the RAV4 are surprisingly low considering a study found overall bacteria
numbers ranged from <10 to 800,000 CFU/ per square inch. Mr. Rucker’s results are based on a
square meter, which is 1550 square inches. To simplify, the study found 15,500 to 1.24 Billion
bacteria colony forming units per M2. The radio knob had the least amount of bacteria and food
spills sampled had the highest number of bacteria. This suggests that bacteria grow in food spills
in the car.
Source: Germs in Your Car Driving You Crazy?      By Charles P. Gerba, Ph.D. and Sheri L. Maxwell B.S.




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  Photo of evidence of spilled food and beverages as well as particles of dust. The beverage drip
  on the top of the photo is directly below the cup holder and in close proximity to the endotoxin
 sampling location. This spill would normally be hidden when the seat is installed in the vehicle.




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                                        Vehicle Detailing
        Assuming that this endotoxin reservoir did exist as the time of inspection and sampling, it
is very unlikely that this particular contamination existed at the time the Mrs. Beckemeyer was
using the vehicle. The inspection and testing was conducted over 21 months after vehicle use
was discontinued by the Mrs. Beckemeyer. The record indicates the vehicle was detailed
(thoroughly cleaned) on at least 3 occasions, July 9, 2016, prior to sale at auction on September
30, 2016 and in preparation for sale by Bob Rohrman Subaru.




                       Photo of card from detail shop found in the vehicle.




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                                          Water leak
        The water leak as described on the PAR bill of lading was “leaks water by passenger sun
visor!!”. PARS later discovered that the passenger side window was slightly open, and the child
window lock feature was engaged which prevented the window for being rolled up entirely.
PARS then disabled the child window lock feature, rolled up the window and observed the
condition of the vehicle following a night of rain. There was no water intrusion observed and the
interior of the vehicle was dry prior to delivery to Mrs. Beckemeyer. She has testified that she
never saw any water leaks in the vehicle for the duration of the period in which she had
possession of it. The following photos show where the water came in and where it would have
ended up on the floor mat.




  Visual depiction of leak location and where water drops would have landed in the vehicle in
                     blue. Location of endotoxin sampling location in red.




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       Based on the volume of space in the floor pan, an amount in excess of 10 gallons of water
would need to enter before it could spill over the pan and reach the endotoxin sampling location.




   Visual depiction of leak location and where water drops would have landed in the vehicle in
 blue. Location of endotoxin sampling location in red. The beverage spill seen in earlier photo is
indicated in green. (Bright white spot is a high intensity flashlight beam used in the inspection.)




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                                 Endotoxin exposure hypothesis
        Mr. Rucker has speculated that an unnamed driver may have been exposed to endotoxins
in the manner described below:
ROUTE OF DRIVER EXPOSURE TO ENDOTOXIN DUST
1. Endotoxin located beneath passenger seat
2. Left rear supply vent located beneath passenger seat
3. Air Flow over carpet endotoxin reservoir creates airborne dust
4. Endotoxin dust moves freely in the cabin circulating into the occupant breathing zone
5. Endotoxin dust is filtered and recirculated within the cabin
        There are several fundamental problems with this hypothesis. Endotoxins are not readily
disbursed by air on their own. They require some sort of vector, a ride on something, for example
dust or pollen to become airborne. I do not know what the substance actually is, but let’s assume
for argument’s sake that the white substance seen in an earlier photo is located below the cup
holder and above the endotoxin testing locations is coffee with extra cream, or a vanilla
milkshake or milk, any liquid that may dry that color would be fine for use in this example. This
spill would provide both the food source and moisture required for bacteria growth. This growth
could and would occur very rapidly, until the amplification was limited by the food source or the
moisture source and the bacteria die. The resulting sticky endotoxin laden substance is not going
to blow around the vehicle. Anyone who has ever spilled something like this knows a damp
towel and maybe even some automotive carpet shampoo may be needed to remove the residual
material from the carpet. Also, an airborne substance behaving as suggested by Mr. Rucker, that
could somehow escaped being captured in the micron filter that it would be going through
multiple times per minute, would not land back in the same place it originated from, it would
settle more evenly over the horizontal surfaces of the vehicle. The 4 endotoxin samples would be
expected to be much closer in sampled value.
         Since this matter relates to Mrs. Breckmeyer, I will assume Mr. Rucker is speculating
that she was the driver so exposed to the endotoxin dust. This presents an additional problem.
The vent identified in the diagram as providing the airflow that caused the endotoxin dust is not
operational during vehicle cooling. This is a heat supply vent, heat is supplied low in the vehicle
since it naturally rises. Cooling is supplied in the higher vents as cold air sinks.
        This vehicle is non-typical in how it supplies cold air the rear seat occupants, this is
accomplished by using a non-directional vent high in the upper center of the dash. The cold air is
directed in a stream between the two front seats to the rear seats. This mode of operation was
confirmed on a 2014 RAV4 at a local dealership. The diagram supplied by Mr. Rucker is not the
correct diagram for the subject vehicle. The correct diagram is below.




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                Rear seat cold air supply duct is depicted by the centermost arrow.
                      Source: 2014 Toyota RAV4 Owner’s Manual Page 309




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                           Source: 2014 Toyota RAV4 Owner’s Manual Page 312

         Note 3 describes operation of vent for the rear seat occupants and to reiterate, it is located
in the front center of the dash above the GPS/ Radio screen.
       Since, Mrs. Breckmeyer had use of the vehicle from May 4 th, 2016 to September 30th,
2016 the use of the air conditioner would render Mr. Rucker’s proposed method of exposure
impossible.
        One final point that is probably now irrelevant, but I would be remiss not to make it
known. A video I was taking as part of my inspection inadvertently captured Mr. Rucker
vacuuming the pattern template while sampling the passenger side under seat location. It appears
entirely unintentional. But since the template appears to have been previously used and was
possibly a source of endotoxin contamination unrelated to the vehicle.




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                        Whole World Health Care, PC Report
      My review of Dr. McMahon’s report is done generally, with a focus on how it relates to
Mrs. Beckemeyer’s alleged exposure to mold and endotoxins.

                                  Background Information
                  Chronic Inflammatory Response Syndrome (CIRS)
        Prior to this assignment I had never heard of CIRS, this is strange because components of
licensing renewal courses frequently have a portion of the training devoted to air quality related
diseases. The purpose is to make those engaged in remediation activates aware of the state of
medical science related to the hazards they work with. For example, we are trained on
histoplasmosis, an infection caused by a fungus found in the droppings of birds and bats in
humid areas. It is not serious if confined to the lungs but can be deadly if spread throughout the
body. This is a CDC recognized disease, primarily affecting those engaged occupationally in
settings that would expose them to large amounts of the fungus responsible for causation.
        What is it CIRS?
        Dr. McMahon’s report states “CIRS is a chronic, progressive, debilitating disease.” His
website states “CIRS is a multi-system illness caused by innate immune system dysregulation.”
And “Most patients have many seemingly unrelated health problems in various parts of the body.
Patients with CIRS can have problems in virtually any part of the body.” M https:/
Source: https://www.wholeworldhealthcare.com/faq-1ost p

        There is no medical board certification that recognizes CIRS treatment as a medical
specialty. According to Dr. McMahon, “The closest to such an achievement is passing Dr.
Shoemaker’s CIRS Certification Program. Dr. McMahon is the first physician in the world to
complete this rigorous testing.”
Source: www.wholeworldhealthcare.com/about-dr-mcmahonve many seemingly unrelated health

        Dr. Shoemaker, the “disease” founder defines CIRS as "An acute and chronic, systemic
inflammatory response syndrome acquired following exposure to the interior environment of a
water-damaged building with resident toxigenic organisms, including, but not limited to fungi,
bacteria, actinomycetes and mycobacteria as well as inflammagens such as endotoxins, beta
glucans, hemolysins, proteinases, mannans and possibly spirocyclic drimanes; as well as volatile
organic compounds (VOCs). We certainly need to consider any possible components of
influence from a water damage building. Mold is a big one!”
Source: https://livinglovecommunity.com/mold-2/

        Other practitioners are calling it “a combination of illnesses or symptoms”.
Sources: www.serenityhealthcarecenter.com/chronic-inflammatory-response-syndrome/




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        And others find it fraudulent: “Ritchie Shoemaker is known for inventing a diagnosis
called Chronic Inflammatory Response Syndrome (CIRS). Shoemaker believes that CIRS is
caused by “biotoxins,” which are often produced by mold. CIRS is not recognized by any
mainstream medical organization. The symptoms blamed on “mold illness” typically have
nothing to do with mold. Unnecessary mold phobia is causing people to be afraid to enter houses
and buildings. According to Dr. Farah Khan, who wrote about beliefs in unsubstantiated mold
diagnoses, “The scientific evidence to back up CIRS is severely lacking, and if you search for
more details on specific clinical descriptors, you will end up empty-handed.”
https://lymescience.org/ritchie-shoemaker/
        Exposure to molds can cause human disease through several well-defined mechanisms. In
addition, many new mold-related illnesses have been hypothesized in recent years that remain
largely or completely unproved.
Source: J Allergy Clin Immunol 2006;117:326-33.

                                          Regulatory Charges
        There are regulatory and licensing charges against Dr. Shoemaker, which include:
                                              FDA charges
       In 2004, the Food and Drug Administration (FDA) charged Ritchie Shoemaker, MD with
seven violations and ordered him to stop injecting patients with a veterinary drug not licensed for
human use.
        FDA accused Shoemaker of administering and instructing 78 patients to self-administer
the veterinary drug Staphage Lysate, which was not approved for human use. FDA also found:
Shoemaker did not have a written protocol during the time of the study
Shoemaker did not get the written informed consent from seven subjects
Shoemaker failed to obtain IRB approval of the study, and
Shoemaker failed to maintain records.
                                        Medical board charges
        On March 3, 2013, Maryland Board of Physicians found that Shoemaker “failed to meet
the standard of care.” Shoemaker opted to stop practicing medicine. Accordingly, the Board
ordered that, “should the physician resume the practice of medicine, the physician will be placed
on Probation for a minimum of two years with terms and conditions.”
https://lymescience.org/ritchie-shoemaker/




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       There is some advice given that is contrary to sound medical practice. For example, one
website has the heading” Waiting For A Diagnosis Might Not Be The Answer” and recommends
commencing with treatment of CIRS before a diagnosis has been rendered.
Source: www.drelenaklimenko.com/chronic-inflammatory-response-syndrome/

        Additionally, part of the CIRS “detoxification” process prescribes Cholestyramine (CSM)
which is an FDA-approved medication used to lower elevated levels of cholesterol “Off-label”.
This means that the drug is prescribed for an indication that has not been approved by the FDA.
This is not illegal but does require signed consent from the patient.
Source: Ten Common Questions (and Their Answers) About Off-label Drug Use Christopher M. Wittich,a,⁎
Christopher M. Burkle,b and William L. Lanierb

       In conclusion CIRS is widely recognized by practitioners that stand to gain financially
from the “disease” and not so much by conventional practitioners that recognize it as alternative
medicine at best or a pseudoscience at worst.
        One very suspect aspect of the “disease” is ambient outdoor mold is not at all considered
as a possible cause of symptoms. Only indoor mold from a water damaged building can be
causative.




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  Governmental Agencies with findings contrary to Dr. McMahon’s Position
        Dr. McMahon’s report presents a defense of his/ Dr. Shoemaker’s theories and he claims
to be “super specialized”, he feels that the general medical community does not recognize his
diagnosis because they are not part of the “relevant scientific and medical communities” and
about those who fall into this category, he states: “The opinions of all others are irrelevant.”
       Multiple Agencies don’t meet Dr. McMahon’s definition of the “relevant scientific and
medical communities” and their opinions would fall into his “irrelevant” category: These
include:
                              Government Accountability Office
       GAO concluded that certain adverse health effects are more clearly associated with
exposure to indoor mold than others.
                       United States Environmental Protection Agency
        United States Environmental Protection Agency cites the lack of federal regulation of
airborne concentrations of mold indoors is largely due to the insufficiency of data needed to
establish a scientifically defensible health-based standard.
                                      Institute of Medicine
       Institute of Medicine has determined the highest level of connection between indoor mold
and adverse health effects can be sufficient evidence of a causal relationship.
        The Institute of Medicine’s 2004 comprehensive report concluded that certain adverse
health effects are more clearly associated with exposure to indoor mold than others. These are
certain respiratory effects, such as nasal congestion and the exacerbation of pre-existing asthma,
are associated with exposure to indoor mold.
       The available evidence was not sufficient to determine whether associations exist
between mold and a variety of other health effects, such as the development of asthma,
rheumatologic and other immune diseases, cancer, acute pulmonary hemorrhage in infants, and
reproductive effects.
         Institute of Medicine was unable to associate a number of adverse health effects with
exposure to mold because the available studies were of “insufficient quality, consistency, or
statistical power to permit a conclusion regarding the presence of an association.”
        Institute of Medicine determined conclusively associating exposure to mold with certain
health effects is challenging, because available studies have been of insufficient quality,
consistency, or rigor. Two key research issues contribute to this difficulty: (1) the lack of
standardized, quantitative methods of measuring exposure to mold and (2) the difficulty in
determining which of several disease-causing agents in damp indoor environments may be
responsible for the adverse health effects.



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       The 2004 Institute of Medicine report concluded that there is a need for research to
determine the health effects of long-term exposure to the toxins that some molds can produce.
Source: GAO-08-980 Indoor Mold Report

                                     Centers for Disease Control
CDC recognizes the following fungal diseases:
Aspergillosis, Candidiasis, Coccidioidomycosis (valley fever), C. gattii infection, Fungal nail
infections, Mucormycosis, Pneumocystis pneumonia (pcp), Sporotrichosis, Blastomycosis,
Candida auris, C. neoformans infection, Fungal eye infections, Histoplasmosis, Mycetoma,
Ringworm and Talaromycosis
Source: www.cdc.gov/fungal/diseases/index.html


       No information on CIRS could be found on any of the above governmental agency
websites.




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                             Medical History Inconsistencies

                                            Allergies

        Medical records indicate Mrs. Beckemeyer has allergies including allergies to mold
generally and Epicoccum and Farsium specifically. Dr. McMahon indicates that the detection
identified in Mr. Rucker’s report of 2 spores of Epococum in the driver’s side carpet 21 months
after Mrs. Beckemeyer turned in the vehicle is significant because she has displayed an allergy to
that type of mold. His report fails to consider the statistical fact that Mrs. Beckemeyer inhaled
24,847 spores of Epococum and 13,743spore of Farsium. from the ambient air in the period she
was assigned the RAV4.


                                       Meniere’s Disease
        Dr. McMahon incorrectly indicates Mrs. Beckemeyer’s Meniere’s disease was resolved
via surgery in 1997, Mrs. Beckemeyer has testified the surgery was not successful and she
continued to have the same symptoms as prior to the surgery. However, at some point she claims
to have completely resolved these symptoms by maintaining a low sodium diet for one week.




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          Water damage building (vehicle) determination requirements

         Dr. McMahon indicates the first criterion to demonstrate in a CIRS determination is
exposure to mold or a water damaged building. He claims GAO provides guidance on this, it
does not, however they do discuss the consistency of government agency guidance on mold
testing.

                                        Visible mold
     Neither Mr. Rucker nor I found any visible mold in the vehicle. I don’t believe Dr.
McMahon is indicating there was visible mold.

                                            Musty odor
        Dr. McMahon indicates Mrs. Beckemeyer noticed a musty smell with the very first
exposure which they incorrectly claim was June 20, 2016. When asked in deposition about the
smell “Musty-type smell?” she responded, “It just was a smell.” It would not be unusual for a
vehicle that had been in storage for a short period of time to have a smell. In fact, this is so
common even in operational vehicles, that Toyota references it in the vehicle manual and it
explains what should be done to resolve it.




                     Source: 2014 Toyota RAV4 Owner’s Manual Page 315
                                      Commercial testing

       This testing was conducted and entirely mis-interpret by Dr. McMahon as discussed
elsewhere in this report.


        Instead of 2 of the 3 alleged mold determination requirements being met for Water
Damage Building/ Vehicle status it was 0 for 3. The RAV4 is not a water damaged building or
vehicle.




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                                          Vehicle vs. Building
        Dr. McMahon was correct in assuming one might argue a car is not a building, because it
clearly is not. Yes, it is a space, with ventilation and respirable air. I disagree that Mrs.
Beckemeyer was “confined” to the vehicle. Mrs. Beckemeyer frequently requested that services
be authorized on the vehicle but often chose not to bring the vehicle in for the authorized repair.
        In concluding that a vehicle is like a building Dr. McMahon incorrectly claims the air
space in a 2014 RAV4 is 73.4 ft³ with seats down. This is the cargo volume, including the space
for the occupants the vehicle air volume is more in the 150 ft³ range. However, a very important
principle is brought up. Dr. McMahon would like one to believe since this small space is
exposing the occupant to a higher relative concentration of mold or bacteria when studies have
showed the exact opposite is true.
        Using the same example, he presents, we can determine a 2000 square foot with 8 foot
ceilings has an air volume of 16,000 ft3. If this home were located in West Chester, OH, based on
climate data, it would require approximately 36,000 BTU to heat and cool. That size HVAC
system would require a 1200 cubic feet per minute blower. During operation the air in the home
would be filtered once every 13.3 minutes or roughly 4 times per hour.
        A Toyota RAV has a 19,200 BTU/ HR cooling capacity and a 600 cubic feet per minute
blower. Cars need massive cooling capacity in order to quickly bring down the interior
temperatures on hot days (easily 130-150 degrees F) to comfortable levels (70-75 degrees F) in a
few minutes. Houses, on the other hand, only need to handle temperature variations of about 15
degrees. So, the air in the vehicle cabin is being filtered 4 times per minute vs. 4 times per hour
in the home. This is the science behind the study that finds total number or microorganisms
decreased (mean reduction: 81.7%), the number of mold spores decreased (mean reduction:
83.3%), and the number of airborne particles decreased (mean reduction: 87.8%) within few
minutes after starting a vehicle AC system.
        Source: Vonberg et al., The microbiological quality of air improves when using air conditioning systems in
cars BMC Infectious Diseases 2010, 10:14

       Additionally, this particular vehicle had an additional design feature to further protect
Mrs. Breckmeyer from the naturally occurring poor air quality in the location she chose to live
and work.
      The 2014 RAV4 Limited is equipped with a micro dust and pollen filter mode. When
engaged it limits the intake of outside air and rapidly decontaminates the air inside the vehicle
cabin




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                    Source: 2014 Toyota RAV4 Owner’s Manual Page 311


       In order to accomplish the same degree of air filtration occurring in the RAV4, the
example 2000 sf house would need 64,000 cubic feet per minute of air flow or the equivalent of
adding an additional 52 HVAC units added to the home.
       While a vehicle and a building share a few common elements, they are very different
environments when it comes to the air quality within them.




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         Dr. McMahon’s review of Mr. Rucker’s Environmental Report
                                                Mold
        Dr. McMahon claims to be a “master of vast knowledge”, which includes among other
things “building science and mold testing methods and interpretation”. However, his report is
fundamentally flawed in the most basic principles relating to this claimed expertise. He seems to
lack even the most basic understating of the fundamental principles of environmental testing. His
interpretation of Mr. Rucker’s report is entirely inconsistent with the findings presented in that
report.
        In what is one of the most absurd conclusions I have ever seen from a “expert”, He
incorrectly interprets the notation “Control Blk” to mean samples were taken on the engine block
of the vehicle and that these samples have somehow become a scientific control against which he
can determine that other results are amplified. In reality, a control blank or field blank is a way to
ensure the sampling media was not contaminated prior to use, this is a very basic principle.
         He then indicates a swab sample was taken on the carpet and was positive for a type of
mold, a swab would not be used on the carpet and in fact were not used on the carpet in the
testing.
        He then claims that the AC condenser swab sampling found Aureobasidium which is
“often found in HVACs with condensation problems”. In reality, condensers never have
condensation problems, this is the heat transfer component located outside of the vehicle.




   Photo of the vehicle condenser. Located in the front exterior of the vehicle behind the grill.



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                                             Automotive AC system

       Next, he incorrectly identifies spore traps and being used to sample the center console
duct and under the passenger seat. These samples were tape lifts and not spore traps.
        Dr. McMahon seems very comfortable in forming opinions based on information from a
report he clearly does not understand. His interpretation of the report is not at all in accordance
with the information presented in Mr. Rucker’s findings.
         Dr. McMahon correctly indicates that without water that mold cannot grow, however he
fails to understand that Mrs. Breckmeyer has testified that she has never seen water in this
vehicle for the entire period she was in possession of it, her sole reason for believing there was
water damage comes for the note on the bill of lading.

       Dr. McMahon incorrectly concludes that since Chaetomium (4 spores) found in the
baseline air sample confirms significant water damage. He states “Chaetomium confirms there
was significant water (saturation or near saturation) for a lengthy period of time (weeks to
months). Chaetomium is a mold normally found in soil, air, cellulose and plant debris. There are
about 95 species in the widespread genus.
Source: Dictionary of the Fungi (10th ed.). Wallingford, UK: CABI. p. 131

       In Mr. Rucker’s report, there were no findings of amplified mold, mold growth, elevated
spore counts or condensation problems. In fact, every mold sample was significantly below the
Low Range of Mold Interpretation Guidance, Chubb owned subsidiary ESIS Risk Management
Services Group (2009). The only exception was the cabin air filter, which when coupled with
no mold being found in either of the two supply ducts tested as well as the AC duct downstream

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of the filter as tested by Mr. Rucker, it is proof positive that the micron filter is performing its
intended function and capturing ambient mold spores and preventing them from reaching the
breathing zone of the vehicle occupants.


                                             Endotoxins
       The findings of Mr. Rucker’s report in this regard were “Results. Ecostratum interprets
endotoxin results collected from beneath the passenger side seat carpet to be elevated. Our
judgement was aided by published guidelines and experience.”
        He concludes that the presence of these endotoxins is proof that the vehicle has been
water damaged. Endotoxin levels do not confirm bacterial growth and water damage, studies
indicate the clear majority of airborne outdoor endotoxin is carried by weed pollen and that the
highest bacteria counts in vehicles are related to food spills.
        He relies on the faulty theory of endotoxin exposure as presented by Mr. Rucker, had he
taken the time to research the issue he would have come up with a different conclusion.
                                        Vehicle Remediation

       Dr. McMahon incorrectly states that the vehicle was “remediated”, service records do not
support this conclusion.

                               Vehicle usage post Mrs. Breckmeyer

       Dr. McMahon correctly determines testing was done more than a year after Mrs.
Beckemeyer ceased driving the vehicle, specifically, it was 21 months. He then incorrectly
presumes that the RAV4 had not been driven in that period prior to our respective inspections.
And that would be the reason Mr. Rucker and I would not find any water in the vehicle when
conducting our respective inspections. Again, he seems to fail to realize that Mrs. Beckemeyer
never observed any water in the vehicle the entire period she operated it. This truth is the vehicle
was driven approximately 24,500 miles in this 21-month time period without incident or
complaint.




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                                            Hurricane Sandy
       Dr. McMahon’s report references Dr. Cleveland’s diagnoses. Findings indicate Mrs.
Breckmeyer had “cognitive deficits, dizziness, vertigo with the company car that was in NJ
during Hurricane Sandy. Mrs. Breckmeyer had claimed that the subject RAV4 was submerged
from October 22, 2012 to November 2, 2012. However, since that was several years before the
RAV4 was built, that is not possible.
       Since Mrs. Breckmeyer was apparently in New Jersey in that time period and developed
the symptoms she reported to Dr. Cleveland it is confusing as why Dr. McMahon would not
focus on that as the source of her illness. She would certainly have been in and around water
damaged buildings and vehicles, including the vehicle she reported to Dr. Cleveland. Below is an
example of the conditions vehicle and buildings were in following Hurricane Sandy.




               Not a photo of the subject Vehicle. New Jersey after Hurricane Sandy
Source: https://bucks.blogs.nytimes.com/2012/11/28/how-to-spot-a-water-damaged-car/

                                              Vehicle usage
        Dr. McMahon incorrectly indicates Mrs. Breckmeyer received the vehicle in June 2016.
He claims her initial drive in the vehicle on June 20, 2016 and she became ill. The vehicle was in
fact delivered on May 6, 2016. Gelco records indicate she had fueled the vehicle 3 times prior to
the claimed first use. Fuel purchase dates were May 8, 2016, May 28, 2016 and June 18, 2016.
Odometer data entered at the time of fueling indicates she had driven 574 miles in the vehicle
between May 6, 2016 and June 18, 2018.



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                             Illness Air Quality Correlations, Specific

   Nothing less than remarkable correlations exist between Mrs. Beckemeyer’s reported illness
and outdoor air quality in locations she was in or traveling to.

                                             June 20, 2016
       Mrs. Beckemeyer claims this was the first time she drove the vehicle and reported becoming
ill.
       !This is the 3 day of an air quality advisory for Butler County, OH. The only multi-day
                    rd

advisory in all of 2016.
       !Ambient mold spore counts in Butler County almost reach the high threshold (1500 per M )  3

with a spore count of 1,489 per M3.


                                        September 19, 2016
       Mrs. Beckemeyer drove to Indianapolis, reports illness.

       !Ambient mold spore counts in Butler County reach the very high threshold with a spore
count of 7,507 per M3. The highest mold spore count of 2016.
       !This is also day 1 of 4 consecutive Indiana Department of Environmental Management Air
Quality Action Days Alert.

                                          September 20, 2016
       !Ambient mold spore counts in Butler County reach the very high threshold with a spore
count of 6,131 per M3. The 3rd highest mold spore count of 2016.
       !This is day 2 of 4 consecutive Indiana Department of Environmental Management Air
Quality Action Days Alert.

                                          September 21, 2016

    Mrs. Beckemeyer drove to Indianapolis, reports severe illness. This is day 3 of 4 consecutive
Indiana Department of Environmental Management Air Quality Action Days Alert.
       !Ambient mold spore counts in Butler County reach the high threshold with a spore count of
2,283 per M3.
                                          October 24, 2016
       Dr. McMahon claims Mrs. Breckmeyer drove the subject RAV4 and experienced the
same symptoms. However, the vehicle was no longer in her possession at this time, it had been
sold one month earlier at auction. It is noteworthy that she is now in a different vehicle and still
experiencing the same symptoms, this indicates the exposure is ambient environmental in nature
not vehicle related.

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                                          GAO report
        Dr. McMahon relies heavily on Government Accountability Report entitled INDOOR
MOLD, Better Coordination of Research on Health Effects and More Consistent Guidance
Would Improve Federal Efforts. This report is about how various agencies could be more
effective in their efforts relating to mold research. He has adapted it to become some sort of
litmus test for mold exposure and litigation as well as a guide to determine causation.
He claims that the report gives guidelines on how to determine the causation with certainty of
mold-based illnesses and indicates they are:
   1. Exposure
   2. Signs and Symptoms
   3. Improvement with therapy
   He then concludes that Mrs. Breckmeyer has met “all three GAO criteria for establishing
causation.”
What the report actually says in this regard is The Institute of Medicine has determined the
highest level of connection between indoor mold and adverse health effects is:
Sufficient evidence of a causal relationship
        According to the Department of Health and Human Services (HHS), establishing a causal
relationship with adequate certainty requires several types of evidence, including (1)
epidemiologic associations, (2) experimental exposure in animals or humans that leads to the
symptoms and signs of the disease in question, and (3) reduction in exposure that leads to
reduction in the symptoms and signs of the disease. They want conclusive testing in a clinical
study and indicate that a causative association cannot be determined by only an epidemiologic
study. HHS officials conclude that more data are needed to establish a causative association
between exposure to mold and some illnesses because the vast majority of the studies conducted
to date have been only epidemiologic.
    Possible levels of connection between indoor mold and adverse health effect
    Highest Sufficient evidence of a causal relationship
              Sufficient evidence of an association
              Limited or suggestive evidence of an association
    Lowest Inadequate or insufficient evidence to determine whether an association exist




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                                Dr. McMahon’s Conclusion

        Dr. McMahon’s report sensationalizes information in very misleading way. For example,
in his conclusion he states, “Based on the GAO report criteria, I can state with a degree of
medical certainty that the Rav 4 vehicle which she drove up to 25 hours per week was water-
damaged and was causative in developing CIRS-WDB in Dr. Breckmeyer, due to chronic
exposure.”
Three of the claims in this single sentence are:
 “she drove up to 25 hours per week”, this is potentially true but much more sensational than that
in a 149 day period 4307 were driven, assuming a low average speed of 30mph and a high
average speed of 60mph, this places her in the vehicle from between 76.78 and 143.57 hours
respectively. Or in other words she spent on average 3.6 to 6.7 hours in the vehicle per week.
“Rav 4 vehicle which was water-damaged”, this is not consistent with either Mr. Rucker’s or my
finings based on our respective inspection and sampling results. Therefore, the basis of this
opinion is formed on the clearly misguided interpretation of Mr. Rucker’s report.
“due to chronic exposure.” U.S. Department of Health and Human Services defines Chronic
exposure as “Contact with a substance that occurs over a long time (more than 1 year)” so this is
also untrue based on generally accepted definitions.
Source: U.S. Department of Health and Human Services, Agency for Toxic Substances and Disease Registry,
www.atsdr.cdc.gov/glossary.html

                                               Causation
        Regarding specific causation Dr. McMahon claims, “No specific causation of an
individual toxin, inflammagen, microbe or combination is required.” What the GAO report
actually says is “To obtain a judgment that mold has caused personal injury, an individual must
persuade the court that the type of mold at issue is capable of causing the individual’s condition
and that the mold actually caused the condition in the specific case.”



        Dr. McMahon then tries to bolster his flawed argument with an analogy of Dr. John
Snow and the cholera a contaminated well. In summary there was a contaminated well and when
access to that contamination source was eliminated people no longer get sick.
      The insinuation is that Mrs. Beckemeyer was exposed to mold in the RAV4 and she
became ill. Sounds logical except that in the RAV 4 is not the only source of mold, it is found
everywhere, floating through the air, we are all being exposed to it constantly.
        Dr. McMahon claims the 1300 spores M3 found via Mr. Rucker’s testing is elevated and
a sign of a water damaged vehicle and dangerous mold. But on the exact days Mr. Beckemeyer


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reported illness the outdoor mold spore counts were 115% to 577% higher than what Dr.
McMahon opines are dangerous and disease causing.

                                              Spores
                                                            % higher
                                              M3
                              Baseline              1300
                              6/20/2016             1489               115%
                              9/19/2016             7507               577%
                              9/20/2016             6131               472%
                              9/21/2016             2283               176%




Source: www.southwestohioair.org/local_air_quality/pollen_and_mold/historical_data

        So, to be a true analogy, every well would need to be contaminated and when one was to
get sick from exposure to the contaminate, one could simply pick the well owner with the
deepest pockets and claim that as the source and cause of their illness.




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                                        Research Data

Multiple studies have determined that it would not be unusual to find allergens of microbial and
nonmicrobial origin inside virtually every family car considering its normal use patterns. [1]

Automobiles are considered an indoor environmental source of endotoxin and β‑(1,3)‑glucan
exposure, together with other indoor environments such as domestic dwellings clothing, schools,
day-care centers , and aircraft. [2]

Endotoxin and β-(1,3)-glucan dispersal in automobiles is most likely from the outside
environment where Gram-negative bacteria, as a source of endotoxin, and fungi, as a source of β-
(1,3)-glucan, are ubiquitous. [2]


The use of air conditioning in a vehicle has a drastic positive effect on the in-vehicle air quality.
In all sequences of air sampling the total number or microorganisms decreased (mean reduction:
81.7%), the number of mold spores decreased (mean reduction: 83.3%), and the number of
airborne particles decreased (mean reduction: 87.8%) within few minutes after starting the AC
system. The present study shows an enormous improvement of the microbiological quality of air
when using the AC system in all cars tested. Thus, our data confirm the findings of Kumar et al.,
who also determined a significant reduction of mold spores in a car's cabin when using the AC
system. Muilenberg et al. report a decrease of the concentration of airborne particles around the
front seats when using an AC system. [3]


Endotoxins naturally occur in the environment. A recent study finds 60% of airborne endotoxins
are carried by pollen of a common weed found in Ohio and most of the U.S. [4]


Our review suggests that the age of houses, cleaning, farm or rural living, flooring materials (the
presence of carpets), number of occupants, the presence of dogs or cats indoors, and relative
humidity were the strongest determinants for endotoxin loads in settled floor dust, while the
presence of pets (especially dogs) were the strongest contributing factors for airborne endotoxin
concentrations. Concerning the effect of several environmental factors on endotoxin levels, the
literature findings are inconsistent and additional studies are needed. [5]

        Knowledge of generally existing levels of endotoxins in indoor air and in settled floor
dust as well as the factors influencing endotoxin levels in indoor environments is needed to
correctly understand field data and to recognize “abnormal” levels of endotoxins. This review
may be used as a guide to aid in the interpretation of endotoxin levels in different indoor
environments. The analysis of the data showed that the reported indoor loads of endotoxins in
settled floor dust, as well as the concentrations of endotoxin in indoor air varied widely within an
indoor environment and between different indoor environments, being 660-107,000 EU/m2 and

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0.04-1610 EU/m3 in residential homes; 2180-48,000 EU/m2 and 0.07-9.30 EU/m3 in schools;
and 2700-12,890 EU/m2 and 6 EU/m3 in offices. - This review recommends that further efforts
should be made to create a standardized, uniform sampling methodology for endotoxins and to
investigate the impact of different local factors in different climate regions. [5]
        The role of indoor dampness in triggering and exacerbating asthma and other respiratory
symptoms has been documented in numerous studies; however, there is limited data on the
relation of indoor dampness to mold sensitivity, particularly in populations living in areas with
significant flooding events. The results of this analysis failed to find a significant relationship
between any of the measures of mold/dampness exposure and sensitivity to mold allergens either
in unadjusted or adjusted models. Furthermore, when asthma status was considered in the model,
the results did not materially change. Thus, the finding of no association was robust across
measures of exposure and across the study population. Although direct pre-post storm
comparisons cannot be made, to explore the possibility that mold sensitivity was higher than
expected in New Orleans residents, we compared our estimates to those obtained from general
population estimates. To our surprise, we found the mold reactivity rate of 10% found in our
sample equaled the rate in the general U.S. population. Further, among asthmatics, the
prevalence of mold reactivity, at 14.9%, was lower than rates found in both the general
population and in other atopic populations. [6]


 [1] Sattar, Syed & E. Wright, Kathryn & Zargar, Bahram & Rubino, Joseph & Ijaz, M. Khalid. (2016). Airborne
Infectious Agents and Other Pollutants in Automobiles for Domestic Use: Potential Health Impacts and Approaches
to Risk Mitigation. Journal of Environmental and Public Health. 2016. 1-12. 10.1155/2016/1548326.

[2] Wu FFS, Wu MW, Chang CF, Lai SM, Pierse N, Crane J, Siebers R: Endotoxin and β-(1,3)-glucan levels in
automobiles: a pilot study. Ann Agric Environ Med 2010, 17, 327–330.

[3] Vonberg et al., The microbiological quality of air improves when using air conditioning systems in cars BMC
Infectious Diseases 2010, 10:146

[4] Artemisia pollen is the main vector for airborne endotoxin Oteros, Jose et al. Journal of Allergy and Clinical
Immunology

[5] Atmospheric & Environment Journal, 142 pp. 360-369 (2016), Endotoxin levels and contribution factors of
endotoxins in resident, school and office environments – A review, H, Salonen, C. Duchain, V. Letouneau, M.
Mazaheri, S. Laitinen, S. Clifford, R. Mikkola, S. Lappalainen, K. Reijula, L, Morawska.


[6] Felicia A. Rabito, Sara Perry, W. Edward Davis, C. Lillian Yau, and Estelle Levetin, “The Relationship between
Mold Exposure and Allergic Response in Post-Katrina New Orleans,” Journal of Allergy, vol. 2010, Article ID
510380, 7 pages, 2010




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                                     CONCLUSION

OPINION #1: The actions or inactions of Gelco or their contractor Professional Automotive
Relocation Service (PARS) did not lead to mold and/ or bacteria growth in the subject vehicle.

OPINION #2: There was not, nor has there ever been mold and/ or bacteria growth in the subject
vehicle that would be considered out of the ordinary.

OPINION #3: Exposure to mold and/ or bacteria while in the subject vehicle was not the direct
and proximate cause of the Mrs. Beckemeyer's injuries.

OPINION #4: Mrs. Beckemeyer was exposed to less mold and/ or bacteria while operating the
subject vehicle then she would have otherwise been exposed to outside of the vehicle.

OPINION #5: Vehicles are designed for minor water intrusion events by nature of their expected
use.

OPINION #6: Mrs. Beckemeyer’s work territory included 6 of the top 25 most polluted cities in
the U.S. in 2016.

OPINION #7: Mrs. Beckemeyer’s symptoms as reported by date corelate very closely with
adverse air quality alerts in reported travel locations.

OPINION #8: Portions of Mr. Rucker’s inspection report entitled Microbe & Endotoxin &
Carbon Monoxide Gas Test Results are fundamentally flawed and inaccurate.

OPINION #9: Portions of Mrs. Beckemeyer’s medical report from Whole World Health Care,
PC are fundamentally flawed and inaccurate.

OPINION #10: Mrs. Beckemeyer’s understanding of mold growth and mold remediation as
allegedly explained to her is fundamentally flawed and inaccurate.

Opinion #11: Mrs. Beckemeyer was exposed to many mold spores via inhalation outside of the
vehicle then inside of the vehicle.




       Signature

       11/2/2018


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                                  Appendix 1
                              Vehicle Inspection




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                                    Vehicle Inspection

        A comprehensive vehicle inspection was conducted July 9, 2018 at Bob Rohrman
Subaru, 1600 S. Creasy Lane, Lafayette, IN 47905. The vehicle VIN was confirmed, and the
vehicle inspection occurred.
        While the condition at the time of inspection may not necessarily represent the condition
of the vehicle at the time of use by Mrs. Beckemeyer due to subsequent cleaning, therefor the
inspection focused on examination and sampling of areas that would not be subject to routine or
even detailed cleaning, for example underneath seats, under installed carpet and inside HVAC
system ductwork. To this end the inspection consisted of partial disassembly of the vehicle by a
trained technician to allow a very thorough inspection of these areas.
       No water damage or mold growth was observed anywhere in the vehicle.




             Vehicle VIN number checked and verified. This is the subject vehicle.




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                           Vehicle Exterior, Passenger Side




                            Vehicle Exterior, Drivers side




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                               Vehicle Exterior, Rear




                                 Vehicle Odometer




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                             Vehicle Exterior, front grill




                             Vehicle Interior, Headliner




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                             Vehicle Interior, Headliner




                             Vehicle Interior, Headliner




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                             Vehicle Interior, Headliner




                             Vehicle Interior, Headliner




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                             Vehicle Interior, Headliner




                             Vehicle Interior, Headliner




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                             Vehicle Interior, Headliner




                             Vehicle Interior, Headliner




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                             Vehicle Seat, Drivers Side




                            Vehicle Seat, Passenger Side




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                            Vehicle Carpet, Drivers Side




                            Vehicle Carpet, Drivers Side




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                            Vehicle Carpet, Drivers Side




                            Vehicle Carpet, Drivers Side




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                            Vehicle Carpet, Drivers Side




                            Vehicle Carpet, Drivers Side




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                          Under Vehicle Carpet, Drivers Side




                          Under Vehicle Carpet, Drivers Side




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                           Vehicle Carpet, Passenger Side




                           Vehicle Carpet, Passenger Side




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                            Vehicle Carpet, Passenger Side




                         Under Vehicle Carpet, Passenger Side




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                           Vehicle Carpet, Passenger Side




                           Vehicle Carpet, Passenger Side




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                           Vehicle Carpet, Passenger Side




                            Vehicle Air Vent, Drivers Side




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                     Vehicle HVAC System, Passenger Side in dash




                  Vehicle HVAC Filer Housing, Passenger Side in dash




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                 Vehicle HVAC System Filter removed for analytical testing




  Condensation in the exterior of the vehicle following A/C use by Mrs. Beckemeyer’s expert




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  Condensation in the exterior of the vehicle following A/C use by Mrs. Beckemeyer’s expert




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                                  Appendix 2

                                Sampling Data




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                                  Appendix 3

                         Laboratory Qualifications




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                                  Appendix 4
                 Vehicle Manual Air Conditioning Section




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                                  Appendix 5
                                Service Records




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                                  Appendix 6
                                  Mold Types




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                                            Mold Types

         The following types of mold spore were detected in microscopic quantities. Type are
 included from Mr. Rucker’s report as well as my own. Under each type is information on
 distribution, where it is found and mode of dissemination.

                                              Acremonium
                                         Ubiquitous; cosmopolitan
                                Soil, dead organic debris, hay, food stuffs.
                            Wet spore. Insect/water droplet. Wind (old growth)

                                                Alternaria
                                        Ubiquitous; cosmopolitan
        Soil, dead organic debris, on food stuffs and textiles. Plant pathogen, most commonly on
                                         weakened plants.
                                             Dry spore. Wind

                                              Ascospores
                                       Ubiquitous; cosmopolitan
                                     Found everywhere in nature.
          Spores are predominantly forcibly discharged during periods of high humidity or rain

                                       Aspergillus/Penicillium
                                       Ubiquitous; cosmopolitan
                        Soil, decaying plant debris, compost piles, stored grain.
               Dry spore. Wind, insects (fungus serves as a food source for storage mites)

                                                Aureobasidium
                                           Ubiquitous; cosmopolitan
          Soil, forest soils, fresh water, aerial portion of plants, fruit, marine estuary sediments,
                     wood. Wet spore. Wind (when dried out), water droplet.

                                            Basidiomycetes
                                        Ubiquitous; cosmopolitan
                                      Gardens, forests, woodlands.
             Wind; spore release (active mechanism) during periods of high humidity or rain

                                             Basidiospores
                                        Ubiquitous; cosmopolitan
                                       Gardens, forests, woodlands.
             Wind; spore release (active mechanism) during periods of high humidity or rain.

                                                Chaetomium

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                                       Ubiquitous; cosmopolitan
                  Soil, seeds, cellulose substrates, dung, woody and straw materials.
       Spores are formed inside fruiting bodies. Spores are forced out an opening and spread by
                                   wind, insects, water splash


                                             Cladosporium
                                       Ubiquitous; cosmopolitan
         Soil of many different types, plant litter, plant pathogen, leaf surfaces, old or decayed
                                             plants.
                  Dry spore (formed in very fragile chains, easily dispersed). Wind.

                                              Epicoccum
                                        Ubiquitous; cosmopolitan
                    Plant debris, soil. Secondary invader of damaged plant tissue.
                   Dry spore. Wind. Spores also released by hygroscopic movement.

                                           Myxomycetes
                                     Ubiquitous; cosmopolitan
                Decaying logs, stumps and dead leaves, particularly in forested regions.
                           These organisms have both dry and wet spores.

                                             Penicillium
                                      Ubiquitous; cosmopolitan
                         Soil, decaying plant debris, compost piles, fruit rot.
              Dry spore. Wind, insects (fungus serves as a food source for storage mites).

                                         Pithomyces
                                  Ubiquitous; cosmopolitan
        Common on dead leaves of more than 50 different plants, especially leaf fodders. Soil,
                                        grasses.
                                       Dry spore. Wind.

                                              Rhodotorula
                                        Ubiquitous; cosmopolitan
                                       Soil, water, milk, fruit juice
                                             Dry spore. Wind.

                                   Smuts, Periconia, Myxomycetes
                                       Ubiquitous; cosmopolitan
              On cereal crops, grasses, weeds, other fungi, and on other flowering plants.
                                           Dry spore. Wind.


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                                     Smuts/Myxomycetes
                                       Ubiquitous; cosmopolitan
              On cereal crops, grasses, weeds, other fungi, and on other flowering plants.
                                           Dry spore. Wind.


                                            Tetraploa
                                        Ubiquitous; cosmopolitan
        Natural habitat includes leaf bases and stems just above the soil on many kinds of plants
                                             and trees.
        Wind disperses the dry fruiting body spores, whereas the wet amoebic phase is motile.

                               Source: www.emlab.com/resources/fungal-library/




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                                  Appendix 6
                              CV Jeremy Porter




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                                        Curriculum Vitae

                                     Jeremy E. Porter, PMP®

                         Independent Expert Witness specializing in
                       Asbestos, Lead and Mold Remediation Exposures


 Professional Qualifications
 Project Management Professional Certification (2013)
 Licensed Asbestos Contractor/ Supervisor (2015)
 Licensed Lead Contractor/ Supervisor (1995)
 Mold Mitigation Training (2005)
 Nuclear Employee Initial Training (2008)
 Nuclear General Employee Training (2008)
 OSHA 10 Certified (2003)
 OSHA 30 Certified (2011)

 Areas of Expertise:
 Mr. Porter has an extensive understanding of the means and methods used to mitigate mold as
 well as an in-depth background and understanding of mold growth and the conditions causing
 such occurrences. Mr. Porter’s background is a unique blend of actual field experience in the
 application and removal of mold followed by extensive management of employees performing
 these tasks. Mr. Porter further possess an in-depth knowledge of mold related exposure and
 associated risks. Mr. Porter’s experience includes an extensive range of project types including
 residential, commercial, industrial, manufacturing, education, healthcare, fossil power and
 nuclear power. Mr. Porter is also familiar with legal proceedings and has a solid foundation and
 understanding of the principals of civil litigation including experience testifying.

 Case History
 •      Smith v. Polley for John and Kim Polley represented by Williams Montgomery & John
 Ltd.

 Work Experience
 •      27 years Construction Experience
 •      27 years Asbestos Abatement Experience
 •      22 years Lead Abatement Experience
 •      22 years Interior Demolition Experience
 •      22 years Mold Abatement Experience
 •      7 years Nuclear Services Experience

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 •      7 Years Thermal Insulation Experience

 Employment History
 •      2015 – 2018: Operations Manger The Luse Companies/ SC
 Duties include oversight of two company division engaged in insulation, asbestos, lead and mold
 remediation work and specialty construction services.

 •       2008 -2015: Nuclear Services Manager Luse Thermal Technologies
 Duties included field oversight and planning for a group of employees engaged in all aspects of
 insulation installation, asbestos abatement work and firestop services in the nuclear power
 generation sector.

 •       2003-2008: General Manager, The Luse Companies
 Duties included oversight of a group of employees estimating and managing all aspects of
 insulation and asbestos abatement work.

 •       2001-2003: General Manager Environmental Services of Illinois
 Duties included oversight of a group of employees estimating and managing all aspects of
 insulation and asbestos abatement work.

 •      1999-2001: Estimator/ Project Manager Specialty Systems of Illinois
 Duties included estimating and managing all aspects of asbestos, lead and mold remediation
 work

 •      1998-1999: Estimator/ Project Manager LVI Services
 Duties included estimating and managing all aspects of insulation, asbestos, lead and mold
 remediation work.

 •      1995-1997: Abatement Worker/ Supervisor Champion Environmental Services
 Duties included performing hands on insulation and asbestos, lead and mold removal.

 Additional Information:

 •       Mr. Porter has experience in the causes and effects of mold growth in all types of
 environments. Work has included projects relating to acute water events as well as chronic
 situations relating to poor indoor air quality typically resulting from high humidity over extended
 periods of time.

 •      Mr. Porter has experience in forensic exposure. Determining exposures based on
 evidence and conditions at the time or over the period of the alleged incident.

 •      Mr. Porter has a technical background. An understanding of principles or operation of
 systems and functions that would lead to or minimize exposure of airborne toxins.



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                  EXPERT WITNESS REPORT


                    MELANIE BECKEMEYER
                                       vs.
                GELCO CORPORATION, ETC.
                  Case No. 1:17-CV-00695-MRB


                                 Prepared by:
                             Jeremy Porter, PMP
                               16 Canyon Court
                              Yorkville, IL 60560


          Report prepared for Ritzler, Coughlin & Paglia, Ltd.




         Subject: Mold/ Bacteria growth in 2014 Toyota RAV4
                        VIN 2T3DFREV9EW127356




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                                        Supplement #1

 Based on information and documents recently provided and reviewed pursuant to the deposition
 of Steven Russel, it is necessary that I supplement my report. I hereby supplement the report as
 follows:

 On page 25 of this report I state: “*The Gelco record indicates “washer line that runs thru roof
 has been chewed, replace, washer valve and 2 rubber tube mouse damage”, however this does
 not appear to have been done according to the dealership service records. This note probably
 relates to a discussion on what could potentially be causing the roof leak. This assumption is
 based in on the vehicle inspection, no mouse or water damage was observed. (See inspection
 details.) The Toyota Dealership services records. (See service records.) Mrs. Beckemeyer’s
 testimony that she never observed any leaks for the entire duration of vehicle use.”

 This assumption was based on the appearance from the service records that no replacement
 washer fluid tubing was installed in the subject RAV4. Mr. Russel’s testimony indicates the parts
 replaced were incorrectly assigned to a line item #5 relating to the inspection of the vehicle floor
 mats, instead of line item #1 relating to the alleged leak.

 Based on this information, I do believe that the dealership replaced washer fluid lines in the
 subject vehicle. According to the part numbers, there were 2 rubber tubes and 1 washer valve
 was replaced. These components are located in the engine compartment of the vehicle and not at
 all associated with the line that runs to the rear window of the vehicle. It is therefore impossible
 that these components contributed in any way to fluid entering the vehicle near the passenger sun
 visor.

 This amendment is for clarification purposes This information does not change or modify any of
 the opinions stated in the report.




 Signature
 4/12/2019




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     RAV4 Front Window Fluid Component Diagram, red arrows added to indicate the parts
                                     replaced.
  Source: https://parts.toyota.com/a/Toyota_2017_RAV4/62972068__6712503/WINDSHIELD-WASHER/665420-
                                                   8503.html




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